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                  EXHIBIT A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                      §
                                                            §      Case No. 17-31646
                                               1
MONTCO OFFSHORE, INC., et al.,                              §
                                                            §      Chapter 11
         Debtors.                                           §
                                                            §      (Jointly Administered)


             ORDER (I) APPROVING (A) BIDDING PROCEDURES GOVERNING
         SUBMISSION AND CONSIDERATION OF COMPETING TRANSACTIONS,
       (B) BIDDING PROTECTIONS, (C) FORM AND MANNER OF NOTICE OF SALE
     TRANSACTION AND SALE HEARING, AND (D) ASSUMPTION AND ASSIGNMENT
      PROCEDURES FOR ANY TRANSFERRED CONTRACTS; (II) (A) SCHEDULING
     AND AUTHORIZING DEBTOR TO CONDUCT AN AUCTION PURSUANT TO THE
       BIDDING PROCEDURES, AND (B) AUTHORIZING DEBTOR TO ENTER INTO
              THE PURCHASE AGREEMENT TO IMPLEMENT THE BIDDING
                PROTECTIONS; AND (III) GRANTING RELATED RELIEF

           Upon the motion (the “Motion”)2 of Debtor Montco Offshore, Inc. (the “Debtor” or

 “MOI”) for entry of an order (I) approving (A) the bidding procedures governing the submission

 and consideration of competing bids (individually, a “Competing Transaction” and, collectively,

 the “Competing Transactions”) for the purchase of substantially all of the Debtor’s assets (the

 “Purchased Assets”), in the form attached hereto as Exhibit 1 (the “Bidding Procedures”),

 (B) certain bidding protections for Falcon Global USA LLC (“Falcon USA” or the “Stalking

 Horse”), (C) the form and manner of notice of the Auction, the acquisition of the Purchased

 Assets (each as defined herein and, such sale, the “Proposed Transaction”), and a hearing to

 approved the Proposed Transaction or a Competing Transaction (the “Sale Hearing”), and


 1
      The Debtors in these chapter 11 cases, together with the last four (4) digits of each Debtor’s federal tax
      identification number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886). The
      mailing address for the Debtors, solely for the purposes of notices and communications, is 17751 Hwy 3235,
      Galliano, Louisiana 70354.
 2
      Capitalized terms not otherwise defined herein shall carry the meaning ascribed to such terms in the Motion.
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(D) the procedures for assuming and assigning any executory contracts or unexpired leases in

connection with the Proposed Transaction or a Competing Transaction, as applicable;

(II) (A) authorizing and scheduling an auction for Competing Transactions (the “Auction”), if

any, and the Sale Hearing, and (B) authorizing the Debtor to enter into the Purchase Agreement

to the extent necessary to implement the Bidding Protections; (III) authorizing (A) the sale of

Purchased Assets free and clear of all liens, claims, encumbrances, and other interests pursuant

to section 363(f) of the Bankruptcy Code and (B) the assumption and assignment of any

executory contracts or unexpired leases transferred in connection with the Proposed Transaction

or a Competing Transaction, as applicable; and (IV) granting related relief, all as more fully

described in the Motion; and upon the record of the hearing held to consider the relief requested

in the Motion (the “Hearing”); and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY FOUND AND DETERMINED THAT:

       A.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this case is proper before

this Court pursuant to 28 U.S.C. § 1408.

       B.      The Debtor has provided due and proper notice of the Motion and the relief

requested therein, including, without limitation, the Bidding Procedures and the Bidding

Protections, and no further notice is required except as set forth herein and in the Bidding

Procedures. A reasonable opportunity to object or be heard regarding the relief provided herein

has been afforded to parties in interest.

       C.      The Debtor has articulated good and sufficient reasons for the Court to approve

the Bidding Procedures. Such good and sufficient reasons set forth in the Motion and as further




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represented on the record of the Hearing are incorporated by reference herein, and, among other

things, form the basis for the findings of fact and conclusions of law set forth herein.

       D.      The Stalking Horse bid represents the highest and best offer the Debtor has

received to date to purchase the Purchased Assets.

       E.      Pursuit of the Stalking Horse as a “stalking horse” and its agreement as a

“stalking-horse sale agreement” is in the best interests of the Debtor and its estate and creditors

and is a sound exercise of the Debtor’s business judgment. The Purchase Agreement will enable

the Debtor to secure a fair and adequate baseline price for the Purchased Assets and, accordingly,

will provide a clear benefit to the Debtor’s estate.

       F.      The Debtor has demonstrated a compelling and sound business justification for

the Court to approve (i) the Bidding Procedures, (ii) the Bidding Protections, (iii) the form and

manner of notice of the Proposed Transaction, the Auction and the Sale Hearing, if any, and

(iv) entry into the Purchase Agreement.

       G.      The Bidding Procedures are commercially reasonable, necessary and appropriate,

and represent the best method for maximizing the realizable value of the Purchased Assets. The

Bidding Procedures were negotiated at arms’-length and in good faith between the Debtor and

the Stalking Horse. The Stalking Horse has conditioned its bid on the terms and conditions of

the Purchase Agreement, including the Break-Up Fee and Expense Reimbursement (together, the

“Bidding Protections”), as described in the Bidding Procedures attached hereto as Exhibit 1.

       H.      The Bidding Protections are fair and reasonable, were negotiated at arms’-length

and in good faith, and provide a significant and demonstrable benefit to the Debtor’s estate,

creditors, equity interest holders and other stakeholders.




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        I.      The Debtor’s obligations to make the payments or other conveyances required by

the Bidding Protections, both under this Order and upon the conditions set forth in the Purchase

Agreement, are (i) actual and necessary costs of preserving the Debtor’s estate within the

meaning of sections 503(b) and 507(a) of the Bankruptcy Code, (ii) of substantial benefit to the

Debtor’s estate, (iii) reasonable and appropriate, including in light of the size and nature of the

Proposed Transaction, and the efforts that have been and will be expended by the Stalking Horse

in connection with the Proposed Transaction, and (iv) a material inducement for, and condition

necessary to ensure that, the Stalking Horse pursues the Proposed Transaction.

        J.      The Procedures Notice is appropriate and reasonably calculated to provide all

interested parties with timely and proper notice of the Bidding Procedures, the Auction, if any,

and Sale Hearing, if any, and the Proposed Transaction free and clear of any liens, claims,

encumbrances or interests pursuant to section 363(f) of the Bankruptcy Code, and any and all

objection deadlines related thereto, and no other further notice shall be required for the Sale

Motion, the Proposed Transaction, and the Bidding Procedures.

        K.      Entry of this Order is in the best interests of the Debtor and its estate, creditors,

interest holders and all other parties in interest.

        L.      The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014.

        M.      To the extent that any of the findings of fact constitute conclusions of law, they

are adopted as such. To the extent that any of the conclusions of law constitute findings of fact,

they are adopted as such.




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          THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

          1.   The Motion is granted to the extent set forth herein.

          2.   All objections filed in response to the Motion or the relief requested therein that

have not been withdrawn, waived, settled, or specifically addressed in this Order, and all

reservations of rights included in such objections are specifically overruled in all respects on the

merits.

                                    Notice of Sale Transaction

          3.   The Procedures Notice, substantially in the form attached hereto as Exhibit 2, is

approved.

          4.   All parties in interest shall receive or be deemed to have received good and

sufficient notice of (i) the Motion, (ii) the sale of the Purchased Assets (as set forth under the

Purchase Agreement) free and clear of all liens, claims, encumbrances, or other interest pursuant

to section 363 of the Bankruptcy Code, (iii) the Bidding Procedures, and (iv) the Auction and

Sale Hearing, if any, and no further notice of the foregoing shall be required, if:

                     a. As soon as practicable, but no later than one (1) business day after entry
                        of this Order, the Debtor causes the Procedures Notice to be filed with
                        the Court and served by email, mail, facsimile or overnight delivery on:
                        (i) counsel for the Stalking Horse; (ii) the Office of the United States
                        Trustee for the Southern District of Texas; (iii) counsel to the
                        Committee; (iv) counsel to the First Lien Agent; and (v) all other
                        persons requesting notice under Bankruptcy Rule 2002 or as directed by
                        the Court (for whom identifying information and addresses are available
                        to the Debtor); and

                     b. As soon as practicable, but no later than one (1) business day after entry
                        of this Order, the Debtor causes the Sale Notice to be published on the
                        website of the Debtor’s claims and noticing agent.




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                         Debtor’s Entry Into the Purchase Agreement

       5.      The Debtor is authorized to enter into the Purchase Agreement, a copy of which is

attached hereto as Exhibit 3, and any other related transaction documents contemplated

thereunder consistent with the terms and conditions of the Purchase Agreement, and the Purchase

Agreement is hereby approved solely to the extent necessary to implement the Bidding

Procedures, including the Bidding Protections.

                              Approval of the Bidding Procedures

       6.      The Bidding Procedures, attached hereto as Exhibit 1, are incorporated herein

and approved in their entirety and shall apply with respect to any bids for, and the Auction and

sale of, the Purchased Assets. For the avoidance of doubt, the failure to specifically include or

reference any particular provision of the Bidding Procedures in this Order shall not diminish or

impair the effectiveness of such provision, it being the intent of the Court that the Bidding

Procedures be authorized and approved in their entirety.

       7.      The Debtor is authorized to take or to refrain from taking any and all actions

necessary or appropriate to implement the terms of the Bidding Procedures and the relief granted

in this Order, without further order of the Court.

       8.      The deadline for submitting a Qualified Bid (as defined in the Bidding

Procedures) shall be December 14, 2017 at 4:00 p.m. (prevailing Central Time) (the “Bid

Deadline”).

       9.      If the Stalking Horse bid is the only Qualified Bid for the Purchased Assets that is

received by the Debtor by the Bid Deadline, (i) no Auction will be conducted for the Purchased

Assets and the Stalking Horse will be the Winning Bid (as defined in the Bidding Procedures) for

the Purchased Assets, and (ii) the Debtor shall file and serve, by 10:00 p.m. (prevailing Central




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Time) on December 14, 2017, (x) a notice indicating that the Auction has been cancelled with

respect to the Purchased Assets and that the Stalking Horse is the Winning Bidder (as defined in

the Bidding Procedures), (y) a notice seeking approval of the Purchase Agreement and proposed

transaction, and (z) a proposed sale order (the “Sale Order”) authorizing and approving the

Purchase Agreement substantially in the form attached hereto as Exhibit 4.

       10.     If one or more Qualified Bids has been submitted for a Competing Transaction in

accordance with these Bidding Procedures, the Debtor will conduct an Auction on December 15,

2017, at 10:00 a.m. (prevailing Central time) at the offices of its co-counsel, DLA Piper LLP

(US), 1000 Louisiana Street, Suite 2800, Houston, Texas 77002-5005, or such other location as

may be announced prior to the Auction. Within one (1) day of the designation of the Winning

Bid, the Debtor shall file a notice of the Winning Bid, along with copies of the proposed

purchase agreement and proposed Sale Order.

       11.     The Court will conduct the Sale Hearing on December 19, 2017 at 3:00 p.m.

(prevailing Central Time) or as soon thereafter as counsel may be heard, at which time the

Court shall consider approval of the Proposed Transaction or a Competing Transaction, as

applicable, and the entry of the applicable Sale Order.

       12.     The Sale Hearing may be adjourned or rescheduled by the Debtor in its discretion

(with consent of the Winning Bidder) without notice or with limited and/or shorten notice to

parties, including by (i) an announcement of such adjournment on the record of the Sale Hearing

or at the Auction, or (ii) the filing of a notice of adjournment with the Bankruptcy Court prior to

the commencement of the Sale Hearing.




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                               Approval of Bidding Protections

       13.     The Debtor is hereby authorized to pay or otherwise provide the Stalking Horse

with the Bidding Protections, and the Bidding Protections are hereby approved as an

administrative expense against the Debtor’s estate pursuant to sections 503(b) and 507(a)(2) of

the Bankruptcy Code payable pursuant to the terms and conditions of the Purchase Agreement as

amended by the Bidding Procedures attached hereto, without further order of the Court.

       14.     The Debtor’s obligation to pay or otherwise carry out the terms of the Break-Up

Fee and Expense Reimbursement, as provided by this Order and the Purchase Agreement, shall

survive termination of the Purchase Agreement, the DIP Financing, any other loan agreement, or

any other definitive agreement consistent with the terms and conditions of the Purchase

Agreement that is executed by the Debtor and the Stalking Horse.

       15.     Except for the Stalking Horse, no other party submitting an offer for a Competing

Transaction (as defined in the Bidding Procedures), whether or not a Qualified Bid (as defined in

the Bidding Procedures) shall be entitled to any expense reimbursement, break-up fee,

termination fee, or similar fee or payment.

       16.     The Debtor’s obligations with respect to the Break-Up Fee and Expense

Reimbursement under this Order and the Purchase Agreement, shall survive confirmation of any

plan of reorganization or discharge of claims thereunder.

       17.     Notwithstanding anything contained herein to the contrary, the Expense

Reimbursement shall be paid in accordance with the Purchase Agreement as amended by the

attached Bidding Procedures and after (a) counsel to either MOI or the Stalking Horse provides

counsel to each of (i) the Debtor, (ii) the U.S. Trustee, and (iii) the Committee (with email being

sufficient) ten (10) days’ notice of a summary statement of the Stalking Horse Expenses (as




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defined in the Bidding Procedures), and (b) there are no timely objections provided in

accordance with this Paragraph with respect to the reasonableness of such Stalking Horse

Expenses submitted by (i) the Debtor, (ii) the U.S. Trustee, or (iii) the Committee during such

ten (10) day notice period. To the extent there are any timely objections to the Stalking Horse

Expenses, such objections must be sent in writing to the Stalking Horse and the Debtor such that

they are received within the ten (10) day notice period (with email being sufficient), be specific

and detailed, and relate solely to the reasonableness of the Stalking Horse Expenses. If the

Debtor, the U.S. Trustee, or the Committee submits an objection(s) to any portion of the Stalking

Horse Expenses in accordance with this Paragraph, the parties shall seek to resolve such

objection(s) consensually over a five (5) day period (the “Resolution Period”); provided,

however, that if such objections are not resolved consensually during the Resolution Period, then

the parties shall jointly move the Court for expedited consideration of any such unresolved

objections.   Notwithstanding anything to the contrary herein, the Debtor shall pay any

undisputed portion of the Expense Reimbursement fourteen (14) days after the initial

presentment to the Debtor of the applicable summary statement.

                             Executory Contracts and Unexpired Leases

       18.     As soon as practicable, but not later than two (2) business days following entry of

this Order, the Debtor shall file a schedule of cure obligations (the “Cure Schedule”) for any

executory contract or unexpired lease, if any, that the Debtor has identified to potentially be

assumed and assigned in connection with the Potential Transaction or a Competing Transaction

(each, an “Assumed and Assigned Agreement”).           The Cure Schedule shall include: (i) a

summary description of each Assumed and Assigned Agreement; and (ii) the amount, if any, the

Debtor believes would be necessary to cure defaults under each Assumed and Assigned




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Agreement pursuant to Sections 365(b)(1) and 365(f)(2)(A) of the Bankruptcy Code (the “Cure

Costs”). Listing an executory contract or unexpired lease on the Cure Schedule does not mean

that the Winning Bidder ultimately will identify such agreement to be assumed and assigned in

connection with consummation of the Potential Transaction or a Competing Transaction, as

applicable. In addition, inclusion of any document in the Cure Schedule does not constitute, and

is not deemed to be, a determination or admission by the Debtor or the Winning Bidder that such

document is an executory contract or unexpired lease within the meaning of the Bankruptcy

Code. The Cure Schedule may be amended or supplemented by the Debtor from time to time.

       19.     The Debtor shall serve a copy of the relevant portion of the Cure Schedule,

together with a notice of assumption and assignment (an “Assumption and Assignment Notice”)

on each of the non-Debtor counterparties to the Assumed and Assigned Agreements listed on the

Cure Schedule by first class mail on the date that the Cure Schedule is filed with the Court.

       20.     Objections to the Cure Costs set forth in the Cure Schedule must be in writing,

state the basis of such objection with specificity and be filed with the Court, and served upon

counsel to the Debtor so be actually received on or before the date that is five (5) business days

after service of the Assumption and Assignment Notice.

       21.     Unless a non-Debtor party to an assumed and assigned agreement has timely and

properly filed and served an objection to the assumption and assignment of its Assumed and

Assigned Agreement or the Cure Costs, the Cure Costs set forth in the Cure Schedule shall be

binding upon the non-Debtor parties to the Assumed and Assigned Agreements for all purposes

in the Bankruptcy Cases and shall constitute a final determination of the total Cure Costs

required to be paid in connection with the assumption and assignment of the Assumed and

Assigned Agreements (unless a portion of such costs are paid or satisfied in any manner, in




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which case the Cure Costs shall be reduced). In addition, absent a timely and properly filed and

served objection, all non-Debtor counterparties to the Assumed and Assigned Agreements shall

(i) be forever barred from objecting to the Cure Costs and from asserting any additional cure or

other amounts with respect to the Assumed and Assigned Agreements, and the Debtor and the

Winning Bidder shall be entitled to rely solely upon the Cure Costs set forth in the Cure

Schedule; and (ii) be forever barred, estopped and permanently enjoined from asserting or

claiming against the Debtor, any Winning Bidder, or their respective property that any additional

amounts are due or other defaults exist, that conditions to assignment must be satisfied under

such Assumed and Assigned Agreement or that there is any objection or defense to the

assumption and assignment of such Assumed and Assigned Agreement.

       22.     If a non-Debtor counterparty to an Assumed and Assigned Agreement files an

objection asserting a cure amount higher than the proposed Cure Amounts (the “Disputed Cure

Amounts”), then (i) to the extent that the parties are able to consensually resolve the Disputed

Cure Amounts prior to the Sale Hearing, the Debtor shall promptly provide the U.S. Trustee, the

Stalking Horse, counsel to the Committee, and the First Lien Agent (collectively, the

“Consultation Parties”) with notice and an opportunity to object to such proposed resolution; or

(ii) to the extent the parties are unable to consensually resolve the dispute prior to the Sale

Hearing or the Consultation Parties raise an objection, the amount to be paid under section 365

of the Bankruptcy Code with respect to such Disputed Cure Amount shall be determined at the

Sale Hearing or at such other date and time as may be fixed by this Court. All other objections

to the proposed assumption and assignment of an Assumed and Assigned Agreement shall be

heard at the Sale Hearing.




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       23.     Parties who wish to object solely to the assignment of the Assumed and Assigned

Agreements to the Winning Bidder (including on the basis of adequate assurance of future

performance as required by Section 365(f)(2)(B) of the Bankruptcy Code) may do so on the

record of the Sale Hearing.

                                         Miscellaneous

       24.     All persons or entities (whether or not Qualified Bidders) that participate in the

bidding process shall be deemed to have knowingly and voluntarily (a) consented to the entry of

a final order by this Court in connection with the Motion or this Order (including any disputes

relating to the bidding process, the Auction and/or the Proposed Transaction) to the extent that it

is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution

and (b) waived any right to a jury trial in connection with any disputes relating to the any of the

foregoing matters.

       25.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       26.     To the extent any provisions of this Order shall be inconsistent with the Motion,

the terms of this Order shall control.

       27.     This Order shall be binding on all successors and assigns, including any trustee

appointed in this chapter 11 case.

       28.     Nothing in this Order shall be deemed to be an approval of the Proposed

Transaction or any Competing Transaction (except to the extent necessary to implement the

Bidding Procedures, including the Bidding Protections), and parties in interest reserve all rights

to object to approval of the Proposed Transaction or any Competing Transaction.




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       29.     The Debtor and its professionals shall use best efforts to facilitate any potential

bidder’s request to confer with the First Lien Agent with respect to such party’s potential Bid.

Notwithstanding the foregoing, the First Lien Agent shall have no obligation, and is not directed,

to confer with any potential bidder.

       30.     Objections to approval of the sale of the Purchased Assets free and clear of liens,

claims, encumbrances and interests pursuant to section 363(f) of the Bankruptcy Code to the

Winning Bidder, must be in writing, state the basis of such objection with specificity and be filed

with this Court and served so as to be actually received by the following parties on or before

(x) if there is no Auction and the Stalking Horse is the Winning Bidder, December 15, 2017 at

10:00 p.m. (prevailing Central Time) (the “Stalking Horse Objection Deadline”), or (y) if an

Auction is conducted, December 18, 2017 at 4:00 p.m. (prevailing Central Time) (the “Other

Objection Deadline”): (i) Montco Offshore, Inc., Attn: Derek C. Boudreaux, 17751 Hwy 3235,

Galliano, Louisiana 70354, (ii) co-counsel to the Debtors, DLA Piper LLP (US), Attn: David

Avraham, 444 W. Lake Street, Suite 900, Chicago, Illinois 60606, and Drinker Biddle & Reath

LLP, Attn: Vince Slusher, 1717 Main Street, Suite 5400, Dallas, Texas 75201, (iii) the Office of

the United States Trustee for the Southern District of Texas, Attn: Stephen Statham, 515 Rusk

Street, Ste. 3516, Houston, Texas 77002, (iv) counsel to the Committee Porter Hedges LLP,

Attn: Joshua Wolfshohl, 1000 Main Street 36th Floor, Houston, Texas 77002, and (v) counsel for

the First Lien Agent Norton Rose Fulbright US LLP, Attn: Kristian Gluck, 2200 Ross Avenue,

Suite 3600, Dallas, TX 75201.

       31.     A party that fails to timely file an objection by the Stalking Horse Objection

Deadline or Other Objection Deadline, as applicable, shall be (i) forever barred from asserting

any objection to entry of the Sale Order or consummation of the Proposed Transaction or




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Competing Transaction, as applicable, and (ii) deemed to have consented to entry of the Sale

Order and consummation of the Proposed Transaction or Competing Transaction, as applicable,

without limitation, for purposes of Section 363(f) of the Bankruptcy Code.

         32.   Notwithstanding the provisions of Bankruptcy Rule 6004 and Bankruptcy Rule

6006 or any applicable provisions of the Local Rules, this Order shall not be stayed for fourteen

(14) days after the entry hereof, but shall be effective and enforceable immediately upon entry,

and the fourteen (14) day stay provided in such rules is hereby expressly waived and shall not

apply.

         33.   This Court shall retain jurisdiction over any matters related to or arising from the

implementation or interpretation of this Order.


Dated: November ___, 2017
Houston, Texas

                                             THE HONORABLE MARVIN ISGUR
                                             UNITED STATES BANKRUPTCY JUDGE




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                             EXHIBIT 1

                         (Bidding Procedures)
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                                   BIDDING PROCEDURES

       On March 17, 2017, Montco Offshore, Inc. (“MOI”) and Montco Oilfield Contractors,
LLC (“MOC”) each filed a voluntary petition for relief under chapter 11 of the Bankruptcy
Code. The bankruptcy cases of MOI and MOC are jointly administered under Case No. 17-
31646 (together, the “Bankruptcy Cases”), and are currently pending before the Honorable
Marvin Isgur in the United States District Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”). Each Debtor continues to operate its business as debtor in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        As part of their chapter 11 strategy, MOI is seeking to sell all or substantially all of its
assets for the highest or best offer. A stalking horse bid (the “Stalking Horse Bid”) has been
submitted by Falcon Global USA LLC (and, together with, any other person or entity that is a
permitted assignee of the Stalking Horse under the Purchase Agreement, the “Stalking Horse”).
MOI and the Stalking Horse have finalized an asset purchase agreement (the “Purchase
Agreement”) for the purchase of substantially all of MOI’s assets (as described in the Purchase
Agreement, the “Purchased Assets”).

        The Stalking Horse Bid is subject to higher or better offers submitted in accordance with
the terms and conditions of these Bidding Procedures and the Purchase Agreement. These
Bidding Procedures describe, among other things: (A) the procedures for bidders to submit bids
for the Purchased Assets; (B) the manner in which bidders and bids become Qualified Bidders
and Qualified Bids (each as defined below); (C) the conduct of a subsequent auction for the
Purchased Assets (an “Auction”), if necessary; and (E) the ultimate selection of the Winning
Bidder(s) (as defined below) and Court approval thereof (collectively, the “Bidding Process”).

       The Debtor reserves the right to extend any of the dates set forth in these Bidding
Procedures without further Order of the Bankruptcy Court subject to providing notice as
described below; provided, that nothing herein shall authorize the Debtor to unilaterally extend
the Bid Deadline or any date or deadlines set forth in the Purchase Agreement without the
consent of the Stalking Horse.

       For information regarding any of the Purchased Assets, contact the following persons:

               Houlihan Lokey, Inc.
               Attn: Adam Dunayer and Michael Boone
               100 Crescent Court, Suite 900, Dallas, Texas 75201
               Tel. (214) 220-8497
               email: ADunayer@HL.com and MBoone@HL.com
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                                 Summary of Important Dates

               Date                                            Event

December 14, 2017 at 4:00 p.m.       Bid Deadline

(prevailing Central Time)

December 19, 2017 at 3:00 pm.        Sale Hearing
(prevailing Central Time)

If the Debtor does not Receive a Qualified Bid in respect of the Purchased Assets

December 14, 2017 at 10:00 p.m.      Deadline to file

(prevailing Central Time)                   Notice of Cancellation of Auction

                                            Notice Seeking Approval of the Purchase
                                             Agreement and Sale Transection

                                            A proposed Sale Order

December 15, 2017 at 10:00 p.m.      Deadline to object to the sale of the Purchased Assets to
                                     the Stalking Horse
(prevailing Central Time)

If the Debtor receives a timely Qualified Bid in respect of the Purchased Assets

December 15, 2017 at 10:00 a.m.      Auction Date

December 16, 2017 at 10:00 p.m.      Deadline for Debtor to file and service notice of Winning
(prevailing Central Time)            Bidder

                                     Deadline to submit a proposed Sale Order

December 18, 2017 at 4:00 p.m.       Deadline to object to the sale of the Purchased Assets to
(prevailing Central Time)            the Winning Bidder



A.     Definitions

        1.     Subject to paragraph 2 hereof, all capitalized terms used but not otherwise defined
herein shall have the meanings given to them in:

               a.     first, the Order (I) Approving (A) Bidding Procedures Governing
                      Submission and Consideration of Competing Transaction, (B) Bidding
                      Protections (C) Form and Manner of Notice of Sale Transaction and Sale



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                     Hearing, and (D) Assumption and Assignment Procedures for Any
                     Transferred Contracts; (II) (A) Scheduling and Authorizing Debtor to
                     Conduct an Auction Pursuant to the Bidding Procedures, and (B)
                     Authorizing Debtor to Enter Into the Purchase Agreement to Implement
                     the Bidding Procedures; and (III) Granting Related Relief entered
                     December [4], 2017 [ECF. No. ___] (the “Bid Procedures Order”);

              b.     second, if not defined in the Bid Procedures Order, Emergency Motion of
                     Debtor Montco Offshore, Inc. for an Order (I) Approving (A) Bidding
                     Procedures Governing Submission and Consideration of Competing
                     Transaction, (B) Bidding Protections (C) Form and Manner of Notice of
                     Sale Transaction and Sale Hearing, and (D) Assumption and Assignment
                     Procedures for Any Transferred Contracts; (II) (A) Scheduling and
                     Authorizing Debtor to Conduct an Auction Pursuant to the Bidding
                     Procedures, and (B) Authorizing Debtor to Enter Into The Purchase
                     Agreement to Implement the Bidding Procedures; (III) authorizing (A) the
                     sale of Purchased Assets free and clear of all liens, claims, encumbrances,
                     and other interests pursuant to section 363(f) of the Bankruptcy Code, and
                     (B) the Assumption and Assignment of any Transferred Contracts; and
                     (IV) granting related relief dated November 24, 2017 2017 [ECF. No.
                     ___] (the “Bid Procedures Motion”); and

              c.     third, if not defined in the Bidding Procedures Order or the Bidding
                     Procedures Motion, title 11 of the United States Code (as amended, the
                     “Bankruptcy Code”) or the Federal Rules of Bankruptcy Procedure (the
                     “Bankruptcy Rules”), as applicable.

        2.    Notwithstanding the definitions that may appear in the Bidding Procedures Order
or Bidding Procedures Motion, as used in these Bidding Procedures, the terms below are defined
as follows:

              a.     “Affiliate” means, with respect to any person or entity, any other person or
                     entity that, directly or indirectly through one or more intermediaries,
                     controls, or is controlled by, or is under common control with, such person
                     or entity, and the term “control” (including the terms “controlled by” and
                     “under common control with”) means the possession, directly or
                     indirectly, of the power to direct or cause the direction of the management
                     and policies of such person or entity, whether through ownership of voting
                     securities, by contract or otherwise.

              b.     “Bankruptcy Case” means the chapter 11 case of the Debtor pending
                     before the Bankruptcy Court as Case No. 17-31646.

              c.     “Bankruptcy Court” means the United States Bankruptcy Court for the
                     Southern District of Texas, before which the Bankruptcy Case is pending.




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       d.    “Bid” means a signed document from a Potential Bidder received by the
             Bid Deadline (defined below) that identifies the purchaser by its legal
             name and any other party that will be participating in connection with the
             bid or sale transaction.

       e.    “Break-Up Fee” means 3% of the Credit Bid Amount.

       f.    “Claims Assignment Agreement” means that certain agreement between
             the Stalking Horse, the lenders under the MOI’s first lien prepetition
             facility (the “First Lien Facility”) and debtor-in-possession financing
             facility (the “DIP Facility”), and JPMorgan Chase Bank, N.A., as agent
             under the First Lien Facility and DIP Facility (the “First Lien Agent” and,
             collectively, the “Secured Lenders”) under which the Secured Lenders
             agree to sell, assign, and transfer all of their respective rights, title,
             interest, and obligations in, to, and under the DIP Facility and the First
             Lien Facility, as applicable, against the Debtor to effectuate the Proposed
             Transaction.

       g.    “Committee” means the Official Committee of Unsecured Creditors
             appointed in the Debtor’s Chapter 11 Case.

       h.    “Debtor” or “MOI” means Montco Offshore, Inc.

       i.    “Expense Reimbursement” means the amount of the reasonable, out-of-
             pocket costs, fees and expenses of the Stalking Horse or any of its
             Affiliates (including legal, financial advisory, accounting, and other
             similar costs, fees, and expenses) incurred in connection with the
             formulation, negotiation, submission of and/or pursuant to the Purchase
             Agreement and/or the Proposed Transaction, and related documentation
             and transactions (collectively, “Stalking Horse Expenses”) up to an
             aggregate amount of $1,000,000 (absent further order of the Court or
             consent of the Committee).

       j.    “Proposed Transaction” means the acquisition of the Purchased Assets by
             the Stalking Horse in accordance with terms set forth in the Purchase
             Agreement and the Claims Assignment Agreement.

       k.    “Purchase Price” The purchase price for the Purchased Assets (as may be
             adjusted pursuant to the terms and conditions of the Purchase Agreement)
             shall be: (x) $131,099,286.35 (the “Credit Bid Amount”), representing the
             expected outstanding obligations and indebtedness of MOI under the DIP
             Facility and the First Lien Credit Agreement as of the Closing Date, to be
             satisfied in the form of a credit bid pursuant to section 363(k) of the
             Bankruptcy Code (the “Credit Bid”), and (y) the release of the liabilities
             arising under the DIP Facility and First Lien Credit Agreement equal to
             the Credit Bid Amount.




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                 l.       “Stalking Horse” or “Falcon USA” means Falcon Global USA LLC, and
                          any other person or entity that is a permitted assignee of the Stalking
                          Horse under the Purchase Agreement.

B.      Assets to be Sold

        1.      All Purchased Assets are available for sale. A party who is interested in
purchasing any of the Purchased Assets may submit a bid to purchase all or a portion of such
assets as set forth herein.

C.      Participation Requirements and Due Diligence

        1.      To participate in the bidding process and the Auction (as defined below), a person
or entity interested in pursuing a competing transaction (a “Competing Transaction”) for all or a
portion of the Purchased Assets (each, a “Potential Bidder”) must first deliver the following
materials to the Debtor and its advisors as provided more fully herein:

                 a.       An executed confidentiality agreement in form and substance satisfactory
                          to the Debtor and its advisors (the “Confidentiality Agreement”). Without
                          limiting the foregoing sentence, the Confidentiality Agreement will
                          provide that all non-public information about the Debtor, its property and
                          interests in property received by a Potential Bidder will be kept strictly
                          confidential in accordance therewith and used only in connection with
                          analyzing a Competing Transaction.

                 b.       Written evidence that enables the Debtor and its advisors following
                          consultation with the Committee and Chase3 to reasonably determine
                          whether a Potential Bidder has the financial, operational, and other ability
                          to close the Competing Transaction and provide adequate assurance of
                          future performance under all contracts and leases to be assumed in
                          connection therewith.

        2.     All Potential Bidders, whether deemed Qualified Bidders (as defined below) or
not, consent to the jurisdiction of the Bankruptcy Court to determine matters concerning the
Competing Transaction and their bids (each, a “Bid”) (whether or not one is made), the Auction,
or the marketing process generally and waive any right to any other venue.

       3.     Any Potential Bidder wishing to conduct due diligence concerning a Competing
Transaction shall be granted

                 a.       reasonable access to the Debtor’s management during normal business
                          hours and


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 For purposes of these Bidding Procedures, to the extent that any Bid proposes to pay, in cash, to Chase, for the
benefit of the lenders under the DIP Facility and the First Lien Credit Agreement, the full amount of outstanding
obligations and indebtedness of MOI under the DIP Facility and the First Lien Credit Agreement, then Chase’s
consultation rights shall be abrogated as to such Bid.


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               b.      access to all relevant information regarding the Bidding Procedures and
                       the business of the Debtor reasonably necessary to enable a Potential
                       Bidder to evaluate the Competing Transaction.

        4.      The Debtor shall make such document access available to Potential Bidders
through an electronic dataroom as soon as reasonably practicable following execution of the
Confidentiality Agreement. Potential Bidders interested in conducting due diligence should
contact the Debtor’s investment banker, Houlihan Lokey, Inc. (“Houlihan”), Attn: Michael H.
Boone (phone: 214.220.8497; email: MBoone@HL.com). Notwithstanding the foregoing,
Houlihan is not required to provide confidential, business-sensitive or proprietary information to
any person if the Debtor, following consultation with the Committee, reasonably believes that
such disclosure would be detrimental to the interests of the Debtor’s estate. All due diligence
must be completed before the Bid Deadline (as defined below). No condition(s) allowing or
regarding further due diligence will be accepted after the Bid Deadline unless otherwise
determined by the Debtor and its advisors following consultation with the Committee. Potential
Bidders are required to exercise their own discretion before relying on any information provided
by the Debtor regarding the Competing Transaction. Neither the Debtor, the Committee, nor any
of their representatives or advisors are responsible for, and will bear no liability with respect to,
any information obtained by Potential Bidders pursuant hereto.

        5.     The Debtor and its advisors, following consultation with the Committee and
Chase shall: (a) receive and evaluate any Bids from Potential Bidders; (b) negotiate offers made
for Competing Transactions; (c) request information from Potential Bidders, engage in
discussions with Potential Bidders, and take such other actions to determine whether any Bid
constitutes or could lead to a Qualified Bid (as defined below); and (d) take any other actions
contemplated under these Bidding Procedures.

D.     Submission of Bids

        1.     Any Potential Bidder interested in proposing a Competing Transaction must
deliver written and electronic copies of its Bid in both PDF and MS-WORD format to the Bid
Notice Parties (as defined below) so as to be received no later than 4:00 p.m. (prevailing
Central Time) on December 14, 2017 (the “Bid Deadline”).

        2.      In order for a Bid to be considered, it must be a “Qualified Bid.” A Potential
Bidder will be deemed to be a “Qualified Bidder” if the Debtor and its advisors, in their sole
discretion and following consultation with the Committee, and JPMorgan Chase Bank, N.A.,
solely in its capacity as agent under the First Lien Facility and the DIP Facility (“Chase” or
“First Lien Agent”), determine that such Potential Bidder submitted a Qualified Bid. For the
avoidance of doubt, the Stalking Horse shall automatically be a Qualified Bidder and its
Bid shall automatically be a Qualified Bid.

       3.     A Bid will be considered a “Qualified Bid” only if the Bid satisfies each of the
following requirements (capitalized terms used in this section may be defined later in the
Bidding Procedures):




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       a.    Purchase Price; Minimum Bid. The Bid contains terms that in the
             Debtor’s business judgment after consultation with Chase or the
             Committee’s independent determination (i) has a value greater than
             $136,132,264.94 and (ii) proposes an alternative transaction that provides
             substantially similar or better terms than the Proposed Transaction;
             provided, however, that bidders may also submit Bids for individual assets
             or a combination of assets (each a “Partial Bid”). The Debtor, in its
             business judgment (after consultation with the First Lien Agent), or the
             Committee, in its reasonable discretion, will determine whether such
             Partial Bids qualify as Qualified Bids; provided, that, to be considered a
             Qualified Bid, the Debtor or the Committee must reasonably conclude that
             a Partial Bid, when taken together with other Partial Bids, satisfies the
             criteria for being a Qualified Bid.

       b.    Unconditional Offer. The Bid provides that it shall remain irrevocable
             until the earlier of (y) the close of the Auction, or (z) in the event it
             becomes the Back-Up Bid, until the Back-Up Bid Expiration Date
             (defined below).

       c.    Commitment. The Bid is made by a person or entity that reasonably
             demonstrates evidence of fully committed and firm financing for each
             component of such Bid and other ability to consummate the Competing
             Transaction, in each case acceptable to the Debtor in its sole discretion,
             following consultation with the Committee and Chase;

       d.    Closing Date. The Bid provides for an outside close date for the
             Competing Transaction of sixty (60) days following entry of the Sale
             Order in respect of such Bid;

       e.    Authorization. The Potential Bidder provides written evidence that it has
             obtained authorization and approval from its board of directors (or
             comparable governing body) with respect to the submission of its Bid and
             the execution of the agreements associated therewith, or a representation
             that no such authorization or approval is required;

       f.    Form of Consideration. The Bid provides that any cash portion of the
             purchase price will be paid in cash, cash equivalents, or such other
             consideration acceptable to the Debtor in its sole discretion following
             consultation with the Committee and Chase;

       g.    Deposit. The Potential Bidder provides by wire transfer of immediately
             available funds to the Debtor or its designee before the Bid Deadline of an
             earnest money cash deposit (the “Deposit”) of not less than five percent
             (5%) of the total consideration provided under the Bid;

       h.    Regulatory Approval. The Potential Bidder provides evidence reasonably
             satisfactory to the Debtor following consultation with the Committee and



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             Chase that the Potential Bidder is reasonably likely to obtain regulatory
             approval, if any is required, promptly and prior to consummating the
             Competing Transaction;

       i.    Marked Agreement. The Bid is submitted in the form of a legally binding
             agreement (the “Bidder Agreement”), which shall be in the form of an
             asset purchase agreement for the purchase of some or all of the Debtor’s
             assets, fully executed by the Potential Bidder in a clean copy and marked
             to show the proposed changes to the Purchase Agreement in a redlined
             copy, that further:

             i.     identifies the Potential Bidder and any Affiliates who are also
                    submitting a Bid (even if not members of the same investor group),
                    if applicable;

             ii.    is not subject to any conditions, representations, or terms not
                    included in the Purchase Agreement that the Debtor determines to
                    be unacceptable;

             iii.   describes with specificity the total consideration proposed to be
                    paid to MOI’s estate in the Competing Transaction;

             iv.    is not conditioned upon the Bankruptcy Court’s approval of any
                    bidding protections, such as a break-up fee, termination fee,
                    expense reimbursement, working fee or similar type of payment;

             v.     is not conditioned upon tax or other due diligence;

             vi.    does not contain any condition to closing of the Competing
                    Transaction relating to the receipt of any third-party approvals
                    (excluding required Bankruptcy Court approval and any required
                    governmental and/or regulatory approval or third-party consents
                    required under the Purchase Agreement);

             vii.   expressly acknowledges and represents that the Potential Bidder:
                    (A) has had an opportunity to conduct any and all due diligence
                    regarding the Competing Transaction prior to making its Bid,
                    (B) has relied solely upon its own independent review,
                    investigation and/or inspection of any documents in making its Bid
                    or that of any of its legal, financial or other advisors, and (C) did
                    not rely upon any written or oral statements representations,
                    promises, warranties or guaranties whatsoever, whether express,
                    implied, by operation of law or otherwise, regarding the business
                    of the Debtor or the Competing Transaction, or the completeness
                    or accuracy of any information provided in connection therewith,
                    except as expressly stated in the representations and warranties
                    contained in the Bidder Agreement ultimately accepted and
                    executed by the Debtor;


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                      viii.   identifies each and every executory contract and unexpired lease
                              that the Potential Bidder desires MOI to assume or reject at the
                              closing and provides evidence of such Potential Bidder’s ability to
                              provide adequate assurance of future performance of such
                              contracts or leases to be assumed (as required by section
                              365(b)(1)(C) of the Bankruptcy Code) along with the Bid; and

                      ix.     contains other information reasonably required by the Debtor and
                              its advisors following consultation with the Committee and Chase.

        4.    A Potential Bidder that desires to make a Bid must deliver written electronic
copies of its Bid prior to the Bid Deadline to the following (collectively, the “Bid Notice
Parties”):

               a.     Montco Offshore, Inc., Attn: Derek C. Boudreaux, 17751 Hwy 3235,
                      Galliano,  Louisiana    70354,    Tel.  (877)   666-6826,  email:
                      Derek.Boudreaux@montco.com.

               b.     Debtor’s Counsel: DLA Piper LLP (US), Attn: David Avraham, 444 W.
                      Lake Street, Suite 900, Chicago, Illinois 60606, Tel. (312) 368-4000,
                      email: david.avraham@dlapiper.com; and Drinker Biddle & Reath LLP,
                      Attn: Vince Slusher, 1717 Main Street, Suite 5400, Dallas, Texas 75201,
                      Tel. (469) 357-2500.

               c.     Debtor’s Investment Banker: Houlihan Lokey (“Houlihan”), Attn: Adam
                      Dunayer and Michael Boone, 100 Crescent Court, Suite 900, Dallas,
                      Texas 75201, Tel. (214) 220-8497, email: ADunayer@HL.com and
                      MBoone@HL.com.

               d.     Committee’s Counsel: Porter Hedges LLP, 1000 Main Street 36th Floor,
                      Houston,    TX     77002,    Attn:   Joshua   Wolfshohl,      email:
                      jwolfshohl@porterhedges.com.

               e.     JPMorgan Chase Bank, N.A’s counsel: Norton Rose Fulbright US LLP,
                      2200 Ross Avenue, Suite 3600, Dallas, TX 75201, email: kristian.gluck@
                      nortonrosefulbright.com and ryan.manns@nortonrosefulbright.com.

        5.     After the Bid Deadline, the Debtor and its advisors, following consultation with
Chase, and independently, the Committee, shall determine which Bids, if any, are Qualified Bids
and which of the Qualified Bids represent(s) the then-highest or otherwise best Bid for a
Competing Transaction (the “Initial Highest Bid” and the entity submitting such Bid, the “Initial
Highest Bidder”). The Debtor and its advisors, in their sole discretion and following
consultation with the Committee and Chase, may consider a bid or bids on individual or groups
of the Debtor’s assets as a Qualified Bid, and may designate one or a combination of such bids as
the Initial Highest Bid. To the extent practicable, at least one (1) business day prior to the
Auction, each Qualified Bidder that timely submitted a Qualified Bid (including, for the
avoidance of doubt, the Stalking Horse) will be advised of such Initial Highest Bids and the
Debtor shall distribute copies of such Initial Highest Bids (with the identities of other Qualified


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Bidders redacted) to the Committee and to other Qualified Bidders who have submitted
Qualified Bids.

       6.     The Debtor reserves the right to waive noncompliance with any bid requirement
following consultation with the Committee and Chase.

       7.      “As Is, Where Is.” A Competing Transaction shall be without representations or
warranties of any kind, nature or description by the Debtor, its advisors, agents or estate, or any
other party, except to the extent set forth in the definitive documentation between the Debtor and
the Winning Bidder (as defined below).

E.     Pre-Auction Procedures

       1.      Failure to Receive Qualified Bids

               a.     If no Qualified Bid for the Purchased Assets, other than the one submitted
                      by the Stalking Horse, is received by the Bid Deadline, the Debtor will not
                      conduct the Auction and shall file and serve, by 10:00 p.m. (prevailing
                      Central Time) on December 14, 2017, (x) a notice indicating that the
                      Auction has been cancelled with respect to the Purchased Assets and that
                      the Stalking Horse is the Winning Bidder, (y) a notice seeking approval of
                      the Purchase Agreement and proposed transaction, and (z) a proposed sale
                      order (the “Sale Order”) authorizing and approving the Purchase
                      Agreement and related transactions.

                      i.      If no Qualified Bid is received, the deadline to Object to the Sale
                              of the Purchased Assets to the Stalking Horse (the “Stalking Horse
                              Objection Deadline”) shall be December 15 at 10:00 p.m.
                              (prevailing Central Time).

                      ii.     The Debtor shall seek the entry of the Sale Order at a hearing
                              before the Bankruptcy Court (the “Sale Hearing”) on December
                              19, 2017 at 3:00 p.m. (prevailing Central Time).

       2.      The Auction

               a.     If one or more Qualified Bids has been submitted for a Competing
                      Transaction in accordance with these Bidding Procedures, the Debtor will
                      conduct an Auction on December 15, 2017, at 10:00 a.m. (prevailing
                      Central Time), with respect to such Qualified Bids in order to determine
                      the highest and best Bid(s) (the “Winning Bid(s)”) to submit for approval
                      by the Bankruptcy Court at the Sale Hearing (as defined below).

               b.     The Auction shall be organized and conducted by the Debtor at the offices
                      of its co-counsel, DLA Piper LLP (US), 1000 Louisiana Street, Suite
                      2800, Houston, Texas 77002-5005, or such other location as may be
                      announced prior to the Auction to the Auction Participants. The Auction
                      will be recorded by stenographic means by an authorized court reporter.


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               c.     The deadline to Object to the Sale of the Purchased Assets to a Winning
                      Bidder at the Auction must be filed and received no later than (shall be
                      December 18, 2017 at 4:00 p.m. (prevailing Central Time) (the “Other
                      Objection Deadline”).

               d.     In the Debtor’s reasonable discretion (after consultation with the Winning
                      Bidder(s)), any Sale Hearing may be adjourned or rescheduled without
                      notice or with limited and shortened notice to parties, including by (A) an
                      announcement of such adjournment at the Sale Hearing or at the Auction
                      or (B) the filing of a notice of adjournment with the Bankruptcy Court
                      prior to the commencement of the Sale Hearing.

F.     Auction Procedures

       1.      The only persons or entities who will be permitted to Bid at the Auction are the
authorized representatives of each Qualified Bidder (the “Auction Participants”). While only the
Auction Participants may make Qualified Bids at the Auction, the Auction may be attended and
viewed also by the Debtor and representatives of the Committee and Chase, and their respective
advisors and/or other authorized representatives. Any other person wishing to attend the Auction
may do so by contacting counsel to the Debtor, David Avraham at
david.avraham@dlapiper.com, no later than three (3) days prior to the start of the Auction.

        2.     Each Qualified Bidder shall be required to represent that it has not engaged in any
collusion with respect to the marketing process or the Competing Transaction.

        3.    The Auction shall be conducted by the Debtor in accordance with such procedures
and requirements as may be established at the discretion of the Debtor and its advisors following
consultation with the Committee and Chase to result in the highest and best offer for the
Purchased Assets, which rules shall be announced prior to commencement of the Auction, and
may include the determination of the amount of time between Qualified Bids, the conducting of
multiple rounds of open bidding, and to declare that the Auction has ended when no further Bids
are timely made or otherwise. Following consultation with the Committee and Chase, the Debtor
may waive and/or employ and announce at the Auction additional rules that are reasonable under
the circumstances for conducting the Auction provided that such rules are: (a) not inconsistent
with the Bidding Procedures Order, the Bankruptcy Code, the Bankruptcy Rules, the Local
Bankruptcy Rules of the Bankruptcy Court, or any order of the Bankruptcy Court entered in
connection with the Debtor’s Bankruptcy Case; (b) disclosed to each Auction Participant; and
(c) do not modify the provisions of the Bidding Procedures or Purchase Agreement in any way.

        4.     The first Qualified Bid at the Auction shall be deemed to have been made by the
Initial Highest Bidder, in the amount of the Initial Highest Bid. Thereafter, the Auction will
continue in the manner determined by the Debtor above; provided, however, (i) additional Bids
must be Qualified Bids (except that such subsequent additional or revised Qualified Bids made at
the Auction need not be received by the Bid Deadline) and (ii) additional Qualified Bids must be
made in higher increments of at least $100,000 in cash or other assets (the “Minimum Bid
Increment”).




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        5.     The Debtor shall determine following consultation with the Committee and Chase,
subject to final determination(s) by the Bankruptcy Court as to the Winning Bid(s) and the
Winning Bidder(s), whether a Qualified Bid by a Qualified Bidder at the Auction matches or is
higher and better than the prior Qualified Bid.

     6.      At the conclusion of the Auction, the Debtor, following consultation with the
Committee and Chase, shall:

               a.     select the Winning Bid and the Back-Up Bid;

               b.     notify the person(s) that made the Winning Bid (the “Winning Bidder”)
                      that the offer of such person(s) has/have been determined by the Debtor to
                      be the Winning Bid, subject only to Bankruptcy Court approval; and

               c.     file a notice with the Bankruptcy Court announcing the Winning Bidder
                      and conduct the Sale Hearing on December 19, 2017 at 3:00 pm
                      (prevailing Central Time).

        7.      Nothing herein shall bind the Committee or Chase with respect to the Debtor’s
selection of the Winning Bidder, and the Committee and Chase reserve all rights with respect to
objecting to the Debtor’s selection of the Winning Bidder. Prior to the commencement of the Sale
Hearing, the Winning Bidder(s) shall complete and sign all agreements and documents as
necessary to bind the Winning Bidder to all of the terms and conditions contemplated by their
respective Winning Bid.

        8.      Each Winning Bidder’s Deposit (if not the Stalking Horse) shall be applied by the
Debtor against the purchase price to be paid by such Winning Bidder or held by the Debtor and
forfeited, as the case may be.

        9.     The Debtor shall not be deemed to have finally accepted any Qualified Bid unless
and until such Qualified Bid and the Debtor’s acceptance thereof have been authorized by order
of the Bankruptcy Court following the conclusion of the Sale Hearing.

        10.     If an Auction is conducted, the Qualified Bidder (including the Stalking Horse)
or, in the case of joint bids, Qualified Bidders with the next highest or otherwise best Qualified
Bid both with respect to individual bids and joint bids , as determined by the Debtor in the
exercise of its business judgment, after consultation with the Committee and Chase, at the
Auction shall be required to serve as back-up bidders (such bid or bids, the “Back-Up Bid” and,
such bidder or bidders, the “Back-Up Bidders”) and keep such bid open and irrevocable until the
Back-Up Bid Expiration Date. Following the Sale Hearing, if the Winning Bidder fails to
consummate the approved sale because of a breach or failure to perform on the part of such
Winning Bidder, the Back-Up Bidders will be deemed to be the new Winning Bidder, and the
Debtor will be authorized, but not required, to consummate the sale with the Back-Up Bidders
without further order of the Bankruptcy Court.




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G.     Post-Auction Process

       1.     A Winning Bidder shall, within one (1) business day after the close of the
Auction, submit to the Debtor fully executed revised documentation memorializing the terms
and conditions of the Winning Bid (unless otherwise extended by the Debtor in writing).
Promptly following the submission of such documentation, the Debtor shall file with the
Bankruptcy Court notice of the Winning Bid and Winning Bidder.

        2.      Except to the extent otherwise provided in the Purchase Agreement, the Back-
Up Bid shall remain open and irrevocable until the first to occur of (i) consummation of the
transaction with a Winning Bidder at the Auction, (ii) the Debtor’s release of the bidder’s
obligations to serve as the Back-Up Bid, (iii) February 20, 2018, and (iv) solely in the event that
the Stalking Horse Bid is the Back-Up Bid, twenty (20) days after entry of a Sale Order
approving the Winning Bid (such date, the “Back-Up Bid Expiration Date”). If the transaction
with a Winning Bidder is terminated prior to the Back-Up Bid Expiration Date, the Back-Up
Bidder shall be deemed the Winning Bidder and shall be obligated to consummate the Back-Up
Bid as if it were the Winning Bid.

       3.      At the Sale Hearing, the Debtor will present a Winning Bid to the Bankruptcy
Court for approval. Unless otherwise required pursuant to the Debtor’s fiduciary duties, the
Debtor shall not consider any bids submitted after the conclusion of the Auction

       4.      Deposits. No later than five (5) business days after the Auction, the Debtor (or
escrow agent) shall return to each Qualified Bidder (other than the Winning Bidder(s)) its
Deposit, plus any interest accrued thereon. Upon the authorized return of such Deposit, the bid
of such Potential Bidder shall be deemed revoked and no longer enforceable.




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                             EXHIBIT 2

                         (Procedures Notice)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                    §
                                                          §      Case No. 17-31646
MONTCO OFFSHORE, INC., et al.,1                           §
                                                          §      Chapter 11
         Debtors.                                         §
                                                          §      (Jointly Administered)

      NOTICE OF BIDDING PROCEDURES, AUCTION AND SALE HEARING FOR
     THE SALE OF SUBSTANTIALLY ALL ASSETS OF MONTCO OFFSHORE, INC.

          PLEASE TAKE NOTICE that on November 24, 2017, Debtor Montco Offshore, Inc.
 (the “Debtor” or “MOI”) in the above-captioned case (the “Chapter 11 Case”) under chapter 11
 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), filed a
 motion [ECF No. [ ]] (the “Motion”)2 with the United States Bankruptcy Court for the Southern
 District of Texas (the “Court”) for entry of an order (I) approving (A) bidding procedures
 governing the submission and consideration of competing bids to buy the Purchased Assets
 (individually, a “Competing Transaction” and collectively, the “Competing Transactions”), in
 the form attached thereto as Exhibit 1 (the “Bidding Procedures”), (B) certain bidding
 protections for Falcon Global USA LLC (“Falcon USA” or “Stalking Horse”), (C) the form and
 manner of notice of the Auction, Proposed Transaction, and Sale Hearing, and (D) the
 procedures for assuming and assigning any transferred contracts; (II) (A) authorizing and
 scheduling an auction for Competing Transactions (the “Auction”), if any, and a hearing to
 approve any transaction with respect to the winning bid(s) designated by MOI (the “Sale
 Hearing”), and (B) authorizing the Debtor to enter into that certain Purchase Agreement, dated
 [____], 2017, a copy of which is attached as Exhibit 3 to Bidding Procedures Order the
 “Purchase Agreement”), solely to the extent necessary to implement the Bidding Protections;
 (III) authorizing (A) the sale of substantially all of MOI’s assets (as defined in the Purchase
 Agreement, the “Purchased Assets”) free and clear of all liens, claims, encumbrances, and other
 interests pursuant to section 363(f) of the Bankruptcy Code and (B) the assumption and
 assignment of any transferred executory contracts and unexpired leases; and (IV) granting related
 relief, all as more fully described in the Motion

        PLEASE TAKE FURTHER NOTICE that on December [4], 2017, the Court entered
 an order [ECF No. ___] (the “Bidding Procedures Order”). The Bidding Procedures Order,
 among other things: (I) approved (A) the Bidding Procedures governing submission and
 consideration of competing transactions, (B) the Bidding Protections (C) the form and manner of

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     The Debtors in these chapter 11 cases, together with the last four (4) digits of each Debtor’s federal tax
     identification number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886). The
     mailing address for the Debtors, solely for the purposes of notices and communications, is 17751 Hwy 3235,
     Galliano, Louisiana 70354.
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     Capitalized terms not otherwise defined herein shall carry the meaning ascribed to such terms in the Motion.
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notice of the sale process, and (D) assumption and assignment procedures; (II) (A) authorized the
Debtor to conduct an auction pursuant to the bidding procedures and scheduled an auction and
related sale hearing, and (B) authorized the Debtor to enter into the Purchase Agreement to
implement the Bidding Procedures; and (III) granted related relief.

        PLEASE TAKE FURTHER NOTICE that, as contemplated by the Bidding Procedures
Order, the Debtor will consider Competing Transactions.

        PLEASE TAKE FURTHER NOTICE that the “Bid Deadline” is 4:00 p.m.
(prevailing Central Time) on December 14, 2017. A Potential Bidder that desires to submit a
proposal for a Competing Transaction is required under the Bidding Procedures to deliver
written electronic copies of all materials comprising its Bid prior to the Bid Deadline to:

              a.      Montco Offshore, Inc., Attn: Derek C. Boudreaux, 17751 Hwy 3235,
                      Galliano,  Louisiana    70354,    Tel.  (877)   666-6826,  email:
                      Derek.Boudreaux@montco.com.

              b.      Debtor’s Co-Counsel: Drinker Biddle & Reath LLP, Attn: Vince Slusher,
                      1717 Main St., Ste. 5400, Dallas, Texas 75201, Tel. (469) 357-2500,
                      email: vince.slusher@dbr.com and DLA Piper LLP (US), Attn: David
                      Avraham, 444 West Lake Street, Ste. 900, Chicago, Illinois 60606, Tel.
                      (312) 368-4000, email: david.avraham@dlapiper.com.

              c.      Debtor’s Investment Banker: Houlihan Lokey (“Houlihan”), Attn: Adam
                      Dunayer and Michael Boone, 100 Crescent Court, Suite 900, Dallas,
                      Texas 75201, Tel. (214) 220-8497, email: ADunayer@HL.com and
                      MBoone@HL.com.

              d.      Committee’s Counsel: Porter Hedges LLP, 1000 Main Street 36th Floor,
                      Houston,   Texas    77002,    Attn:  Joshua   Wolfshohl,      email:
                      jwolfshohl@porterhedges.com.

              e.      JPMorgan Chase Bank, N.A’s counsel: Norton Rose Fulbright US LLP,
                      2200 Ross Avenue, Suite 3600, Dallas, TX 75201, email address:
                      kristian.gluck@nortonrosefulbright.com and
                      ryan.manns@nortonrosefulbright.com.

       Unless otherwise agreed by the Debtor, any person or entity that does not submit a
bid by the Bid Deadline shall not be permitted to participate in the Auction.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures Order,
if one or more Qualified Bids has been submitted for a Competing Transaction in accordance
with these Bidding Procedures prior to the Bid Deadline, the Debtor will conduct an Auction on
December 15, 2017, at 10:00 a.m. (prevailing Central Time), with respect to such Qualified
Bids at the offices of its counsel, DLA Piper LLP (US), DLA Piper LLP (US), 1000 Louisiana
Street, Suite 2800, Houston, Texas 77002-5005, or such other location as may be announced

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prior to the Auction to the Auction Participants. If Qualified Bids are not received by the Debtor
as stated in the immediately preceding sentence, the Debtor will not hold the Auction.

        PLEASE TAKE FURTHER NOTICE that any person or entity wishing to submit a bid
for a Proposed Transaction is urged to review the Bidding Procedures, the Bidding Procedures
Order and the Motion. Copies of the Motion and the exhibits thereto, and the Bidding
Procedures Order (including the Bidding Procedures attached as Exhibit 1 to the Bidding
Procedures Order) may be reviewed (a) during regular Court hours at the United States
Bankruptcy Court, 515 Rusk Avenue, Houston, TX 77002, or (b) free of charge on the Debtors’
restructuring website, bmcgroup.com/Montco.

        PLEASE TAKE FURTHER NOTICE that the Sale Hearing is currently scheduled to
be held on December 19, 2017 at 3:00 p.m. (prevailing Central Time) at the United States
Bankruptcy Court for the Southern District of Texas, 515 Rusk Avenue, Houston, TX 77002,
Courtroom 404, to consider MOI’s selection of the highest or best bid and the Proposed
Transaction or Competing Transaction, as applicable. The Sale Hearing may be adjourned, from
time to time, without further notice to creditors or parties in interest other than by announcement
of the adjournment in open court or on the Bankruptcy Court’s docket.

     PLEASE TAKE FURTHER NOTICE THAT OBJECTIONS TO ANY RELIEF
REQUESTED IN THE MOTION, INCLUDING THE REQUEST TO APPROVE THE
SALE OF THE PURCHASED ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS
AND ENCUMBRANCES, MUST BE IN WRITING, FILED AND SERVED SO AS TO BE
ACTUALLY RECEIVED BY

              DECEMBER 15, 2017 AT 10:00 P.M. (PREVAILING CENTRAL TIME) if
               there is no Auction and the Stalking Horse is designated as the Winning Bidder;
               or

              DECEMBER 18, 2017 AT 4:00 P.M. (PREVAILING CENTRAL TIME) if
               there is an Auction conducted

by: (i) Montco Offshore, Inc., Attn: Derek C. Boudreaux, 17751 Hwy 3235, Galliano, Louisiana
70354, (ii) co-counsel to the Debtors, DLA Piper LLP (US), Attn: David Avraham, 444 W. Lake
Street, Suite 900, Chicago, Illinois 60606 and Drinker Biddle & Reath LLP, Attn: Vince Slusher,
1717 Main Street, Suite 5400, Dallas, Texas 75201, (iii) the Office of the United States Trustee
for the Southern District of Texas, Attn: Stephen Statham, 515 Rusk Street, Ste. 3516, Houston,
Texas 77002, (iv) counsel to the Committee Porter Hedges LLP, Attn: Joshua Wolfshohl, 1000
Main Street 36th Floor, Houston, Texas 77002, and (v) counsel for Chase Norton Rose Fulbright
US LLP, Attn: Kristian Gluck, 2200 Ross Avenue, Suite 3600, Dallas, TX 75201.




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          This Notice is qualified in its entirety by the Bidding Procedures Order. All persons and
  entities are urged to read the Bidding Procedures Order, when entered, and the provisions thereof
  carefully. To the extent that this notice is inconsistent with the Bidding Procedures Order, the
  terms of the Bid Procedures Order shall govern.



Dated: November [__], 2017                           DRINKER BIDDLE & REATH LLP
       Dallas, Texas
                                                     By:     /s/ DRAFT
                                                     Vincent P. Slusher (State Bar No. 00785480)
                                                     Drinker Biddle & Reath LLP
                                                     1717 Main Street, Suite 5400
                                                     Dallas, Texas 75201-7367
                                                     Telephone: 469.357.2571
                                                     Facsimile: 469.327.0860
                                                     vincent.slusher@dbr.com

                                                     - and -

                                                     DLA PIPER LLP (US)

                                                     Daniel M. Simon (admitted pro hac vice)
                                                     David E. Avraham (admitted pro hac vice)
                                                     DLA Piper LLP (US)
                                                     444 W. Lake Street, Suite 900
                                                     Chicago, Illinois 60606-0089
                                                     Telephone: (312) 368-4000
                                                     Facsimile: (312) 236-7516
                                                     daniel.simon@dlapiper.com
                                                     david.avraham@dlapiper.com

                                                     Counsel for the Debtors




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                              Exhibit 3

                        (Purchase Agreement)

                             [To be filed]
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                              Exhibit 4

                            (Sale Order)

                             [To be filed]
